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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

                                                                                               2089 NOV 18 AM U:      Il
UNITED STATES OF AMERICA                                   )
                                                                                                             .............____
                  V.                                       )                  CR495-00123-024 ..      .. .
           Jesse Edwards

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          On November 16, 2009, this case was before the Court for a revocation hearing, pursuant to Federal

Rule of Criminal Procedure 32.1 (a)(2).
          At the hearing, the defendant stipulated that he had violated the terms and conditions of his
supervised release by failing to report as directed, failing to submit written monthly reports, and failing
to notify the probation officer within 72 hours of any change in residence or employment. Although the
Court finds that the defendant, Jesse Edwards, has violated the terms and conditions of his supervised
release, the Court has decided not to revoke his supervised release at this time. The Court finds that it is
hard to believe that the defendant has been in Savannah the entire time the warrant was active and could
not be located. The Court directs that the term of supervised release is reimposed in full with the

following special conditions:
          I The defendant shall participate in a program of treatment for drug and alcohol
                  abuse. The costs of treatment shall be paid by the defendant in an amount to
                  be determined by the probation officer, based on ability to pay or availability

                  of third-party payment.
          2       The defendant shall participate in a program of testing for drug and alcohol

                  abuse.
          All other conditions imposed by this Court on December 20, 1995, shall remain in full force and

effect.
          SO ORDERED this /"day of November 2009.


                                                               William T. Moore, Jr.          F'
                                                               Chief Judge, U.S. District Court
